                                 Appendix C
                Disputes Related to Proposed Protective Order
   I.Use of Confidential Information:

          Plaintiffs’ Proposed Language:                      Defendants’ Proposed Language:
  (6)(c) Subject to the requirements in
  Subparagraphs 6(a)-(b), the following
  categories of persons may be allowed to
  review Confidential Information:                       (6)(c)(7)      Witnesses at Hearings and
  ...                                                    Depositions. During depositions or testimony
  (7)      Witnesses      at     Hearings     and        at any hearing, or in preparation for the same,
  Depositions. During depositions or testimony           witnesses in this Action to whom disclosure is
  at any hearing, or in preparation for the same,        reasonably necessary, provided that counsel
  witnesses in this Action to whom disclosure is         for the party intending to disclose the
  reasonably necessary, provided that counsel            information has a good-faith basis for
  for the party intending to disclose the                believing such Confidential Information is
  information has a good-faith basis for                 relevant to events, transactions, discussions,
  believing such Confidential Information is             communications, or data about which the
  relevant to events, transactions, discussions,         person has knowledge; and provided that the
  communications, or data about which the                witness has completed the certification
  person has or should have knowledge; and               contained in Attachment A. Disclosure to such
  provided that the witness has completed the            person is limited (1) to the portion of the
  certification contained in Attachment A.               document of which the person has knowledge;
  Disclosure to such person is limited to the            or (2) to the portion of the document in which
  portion of the document relevant to events,            the person’s conduct or knowledge is
  transactions, discussions, communications, or          identified or referenced; or (3) counsel for the
  data about which the person has or should have         Producing Party expressly authorizes in
  knowledge. To the extent a document                    writing disclosure of the information to the
  otherwise subject to this section also contains        witness prior to its disclosure.
  irrelevant information, counsel for the party
  intending to disclose the information will use
  best efforts to redact the irrelevant portion of
  the document before presenting it to the
  witness.
  (6)(d) Subject to the requirements in                  (6)(d)(6) Paragraph 6(d)(6): Witnesses at
  Subparagraphs 6(a)-(b), the following                  Hearings and Depositions. During depositions
  categories of persons may be allowed to                or testimony any hearing, or in preparation for
  review Highly Confidential Information:                the same, witnesses in this Action to whom
  ...                                                    disclosure is reasonably necessary, provided
  (6) Witnesses at Hearings and Depositions.             that counsel for the party intending to disclose
  During depositions or testimony at any                 the information has a good-faith basis for
  hearing, or in preparation for the same,               believing     such     Highly      Confidential
  witnesses in this Action to whom disclosure is         Information is relevant to events, transactions,
  reasonably necessary, provided that counsel            discussions, communications, or data about

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  for the party intending to disclose the                which the person has knowledge; and provided
  information has a good-faith basis for                 that the witness has completed the certification
  believing      such     Highly     Confidential        contained in Attachment A. Disclosure to such
  Information is relevant to events, transactions,       person is limited (1) to the portion of the
  discussions, communications , or data about            document of which the person has knowledge;
  which the person has or should have                    or (2) to the portion of the document in which
  knowledge; and provided that the witness has           the person’s conduct or knowledge is
  completed the certification contained in               identified or referenced; or (3) counsel for the
  Attachment A. Disclosure to such person is             Producing Party expressly authorizes in
  limited to the portion of the document relevant        writing disclosure of the information to the
  to     events,     transactions,    discussions,       witness prior to its disclosure.
  communications, or data about which the
  person has or should have knowledge. To the
  extent a document otherwise subject to this
  section also contains irrelevant information,
  counsel for the party intending to disclose the
  information will use best efforts to redact the
  irrelevant portion of the document before
  presenting it to the witness.

        PLAINTIFFS’ POSITION:

        It has become routine that in large cases, such as this one, Parties frequently over-designate

 documents as confidential, which all-too-often leads to unnecessary litigation within litigation.

 Challenging confidentiality designations, unless done wholesale, forces the party making the

 challenge (almost always the plaintiff in large class actions) into a no-win proposition: either reveal

 opinion work product (by informing the over-designating party which handful of the thousands or

 millions of over-designated documents plaintiffs care about), or not use those documents in non-

 party depositions at all. Plaintiffs propose a solution where second-party confidential or highly-

 confidential documents can be shown without advance notice to witnesses associated with the

 producing party, while building in three separate safeguards to prevent actual competitively-

 sensitive information from being shared inappropriately: 1) a deponent must sign Attachment A

 and agree to be bound by the Protective Order governing this case at the time of signing; 2)

 applicable documents will only be shown to a deponent if “counsel for the party intending to



                                                     2

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 disclose the information has a good-faith basis for believing such [Highly] Confidential

 Information is relevant to events, transactions, discussions, communications, or data about which

 the person has or should have knowledge”; and 3) if an applicable document contains both relevant

 and irrelevant information, “counsel for the party intending to disclose the information will use

 best efforts to redact the irrelevant portion of the document before presenting it to the witness.”

 These protections are sufficiently robust to address Defendants’ concerns regarding the potential

 disclosure of confidential information.

        DEFENDANTS’ POSITION:

        It is Defendants’ position that in order to use a document at a hearing or deposition that a

 party designated Confidential or Highly Confidential, that the witness was not previously

 authorized to see, counsel should be required to give advance written notice to the Producing Party

 and the Producing Party must expressly authorize such disclosure in writing. Given the subject

 matter of this case and the fact that many of the Defendants in this case are competitors, it is

 particularly important for Defendants that their competitively sensitive material be kept

 confidential, and that the Producing Party be given notice before it is used with someone who is

 not already entitled to see the document. Given the number of Defendants, it is also a possibility

 that not every party’s counsel will be able to attend every deposition or hearing, making advance

 notice and authorization even more important. To that end, Defendants provide two scenarios

 wherein advanced notice is not required: (1) if the witness already has knowledge of the material

 in the document because the witness sent or received the document, or someone from the witness’s

 employer sent or received the document or (2) the witness’s knowledge or conduct is referenced

 in the document. Only if the prior conditions are not met must the party seeking to use the Protected

 Material get advance written authorization from the Producing Party. Requiring advance notice is



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 consistent with many protective orders entered in other antitrust cases involving competitors 1 and

 cases in the Middle District of Tennessee, 2 dealing with highly sensitive information. Moreover,

 there are sufficient safeguards in the Protective Order already to alleviate Plaintiffs’ concerns

 regarding over-designation. Paragraph 12 of the Protective Order allows parties to challenge

 designation of any document as Confidential or Highly Confidential via a meet and confer process

 prior to filing a motion with the Court. Accordingly, this notice provision will only apply to

 documents that are properly designated Confidential or Highly Confidential. Plaintiffs’ proposal

 in no way alleviates Defendants’ concern that a Producing Party’s Protected Material could be

 used in a deposition or hearing when the Producing Party’s counsel is not present.




 1
   Persian Gulf, Inc. v. BP West Coast Products LLC, et al., Case No 3:15-cv-01749, (S.D. Cal.
 Feb. 4, 2019) [Dkt. 184] (requiring identical language re: advance written authorization from
 Producing Party); In re Local TV Advertising Antitrust Litigation, MDL No 2867, Case No 1:18-
 cv-06785 (N.D. Ill. Feb. 15, 2019) [Dkt. 194] (requiring five business days advance notice); see
 also Pope v. Blue Ridge Elec. Membership Corp., Civil No: 5:11-CV-185 (W.D.N.C. Aug. 31,
 2012) [Dkts. 13 & 15] (requiring twenty-four-hour advance notice in employment case).
 2
   Glenda Shipman, et al. v. American Medical Systems, Inc., et al., Case No. 3:19-cv-0820 (M.D.
 Tenn. December 9, 2020) [Dkt. 93] (requiring five days’ notice in advance of deposition); see also
 Top Tobacco. L.P., et al. v. Vassem Abdelshahed, Civ. Action No. 3:19-cv-0356. (M.D. Tenn. June
 1, 2020) [Dkt. 56] (requiring three business days’ notice before a designated document can be used
 in a filing or hearing).
                                                 4

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